Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 1 of 18

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

WEST PALM BEACH DIVISION
BEVERLY BUNCHER Civil Action No, 9:25-cv-80662
Plaintiff,
v.

HAMLET AT POINCIANA CONDOMINIUM ASSOCIATION, INC.,
and CENTURY MANAGEMENT CONSULTANTS, INC.

Defendants.

DEFENDANTS, HAMLET AT POINCIANA CONDOMINIUM ASSOCIATION, INC. AND
CENTURY MANAGEMENT CONSULTANTS, INC.S’
MOTION TO DISMISS PLAINTIFF’S COMPLAINT

COMES NOW Defendants, Hamlet at Poinciana Condominium Association, Inc. (hereinafter
“Hamlet and Century sometimes collectively referred to as “Defendants”) and Century Management
Consultants, Inc. (hereinafter “Century”) by and through undersigned counsel, and pursuant to Federal
Rules of Civil Procedure 12(b)(1) and 12(b)(6) hereby files their Motion to Dismiss Plaintiffs,
Beverly Buncher’s (hereinafter “Plaintiff” or “Buncher”), Complaint and in support thereof states as
follows:

FACTUAL AND PROCEDURAL BACKGROUND

1. This matter stems from a long buried three (3) plus year old dispute involving
Plaintiff's request to have a dog as an ‘emotional support animal’ (hereinafter “ESA”) at the

Hamlet Condommium. See Compl. ¢ 1-56.

2, Hamlet does not allow residents to maintain dogs as pets; to maintain a dog as a

pet is a direct contravention of Hamlet’s governing documents. See Compl. { 17.

Page |1
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 2 of 18

3. On or around February, 2022, Buncher sought to purchase and closed upon 6698 10%
Avenue, Apt. 318, Lake Worth, Florida 33467 (hereinafter the “Unit”) located within the Hamlet
condominium complex, where Plaintiff stil! to this day resides. See Compl. 2, 36.

4, Buncher had already owned and possessed a poodle named “Hercules” at the time
of the closing and Buncher moving into the Unit. Some three (3) years and five (5) months prior
to the filing of Buncher’s Complaint, Hamlet required Buncher to fill out certain paperwork
regarding Buncher’s request to qualify Hercules as an emotional support animal.!

5. As involving “Hercules”, back in January and February, 2022 Buncher voluntarily
filled out alf such emotional support animal paperwork presented to her by Hamlet and/or Century.

6. Hercules was approved as a Buncher’s emotional support animal and was eligible
to reside with Buncher and did so until Hercules died on December 15, 2024. See Compl. § 39.

7. Then, Buncher, without prior notice to Hamlet nor approval from Hamlet, brought
anew dog into the community, “Bella” for alleged emotional support. See Compl. § 40.

8. Following its emotional support animal procedures Hamlet requested Buncher
contact Century to fill out the necessary paperwork for the purpose of approving “Bella” as
Buncher’s new emotional support animal. See Compl. { 42.

9. Buncher did not believe she had to seek approval for “Bella” because she was
already approved for an emotional support animal as involving “Hercules”. See Compl. ¢ 43.

10. At no time did the Defendants require “Bella” be removed from the community nor
have any restrictions associated with “Bellas” movements, i.e., walking, in the community. See

Compl. 1-56.

' Buncher actually possessed a second emotional support animal which also resided in the Unit, named “Maxie”.
Plaintiff's Complaint fails to make reference to any allegations concerning “Maxie” other than admitting such
second emotional support animal did reside with Plaintiff in the Unit. See Compl. { 43.

Page |2
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 3 of 18

11. Buncher plainly admits that Hamlet also retracted a prior rule that emotional
support animals’ paws not touch Hamlet common grounds and Hamlet posted a sign informing
residents that “all ESA animals are allowed to walk with their owners on property so long as they
are on leash”, See Compl. ¥ 52, footnote 2.

12. Onor around May 29, 2025, Buncher initiated this lawsuit against Defendants, and
pursuant to the federal Fair Housing Act (hereinafter “FHA”), 42 U.S.C. §§ 3601 et. seg., 42 U.S.C.
§ 3617 which attempts to assert four (4) causes of action against the Defendants, namely: Failure
to Accommodate (Count I); [legal Intimidation (Count II); Publishing a Statement indicating a
preference that persons with disabilities not reside at the Hamlet (Count IID); and Discriminating
in the provision of services or facilities in connection with a dwelling (Count IV).*

13. As discussed herein, Buncher has not and cannot successfully assert any actionable
claims against Defendants. Thus, for the reasons illustrated below, the Plaintiff’s Complaint
against the Defendants should be dismissed in its entirety.

MEMORANDUM OF LAW

A. Legal Standard Governing Motion to Dismiss.

Rule 12(b) (6) of the Federal Rules of Civil Procedure provides that dismissal of a
complaint is appropriate “if it is clear that no relief could be granted under any set of facts that
could be provided consistent with the allegations.” Hirhson v. King & Spotting, 47 U.S. 69, 73
(1984). “A motion to dismiss for failure to state a claim [generally] tests the sufficiency of the
complaint.” Hazel v. Schl. Bd. of Dade County, 7 F.Supp.2d 1349 (S.D. Fla. 1989). To survive a
challenge by motion to dismiss, “a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

* Plaintiff appears to have attempted to assert a fifth Count, that Count is untitled and unclear as to the relief requested.
See Compl. 7 95-97 but appears to be grounded in “injunctive relief”.

Page |3
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 4 of 18

(2009) (quoting, Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007)). “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Igbal, 556 U.S. 662,
678 (2009) (quoting Twombly, 550 U.S. at 556). If a complaint simply parrots the elements of a
cause of action and is supported by mere conclusory statements, it must be dismissed. /d (citing
Twombly, 550 US. at 555). Said differently, reviewing courts “are not bound to accept as true,
legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at 555.

“In analyzing the sufficiency of the complaint, [the court should] limit [its] consideration
to the well-pleaded factual allegations, documents central to or referenced in the complaint, and
matters judicially noticed.” La Grasta v. First Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).
“Courts follow a two-prong approach when considering a motion to dismiss: 1) eliminate any
allegations in the complaint that are merely legal conclusions; and 2) where there are well- pleaded
factual allegations, assume their veracity and then determine whether they plausibly give rise to an
entitlement to relief.” Greenberg v. Wells Fargo Bank NA, 2015 WL 1647964 at *2 (M.D. Fla.
2015)(shp copy) (internal quote and citation omitted). If “the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged,” then the claim meets the “plausibility requirement.” Iqbal, 556 U.S. at 679. However, to
satisfy the Igbal standard, “more than a sheer possibility” that the allegations are true is required.
fd. Furthermore, while the pleading standards of Federal Rule of Civil Procedure 8 do not require
detailed factual allegations, “it demands more than an unadorned accusation or mere conclusions.
Id. (quoting, Twombly, 550 U.S. at 555).

Even under the liberal pleading requirements of Fed. R. Civ. P. 8(a), a plaintiff must set
forth factual allegations, either direct or inferential, respecting each material element necessary to

sustain recovery under some actionable legal theory; simply mimicking language of statutory cause

Page |4
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 5 of 18

of action, without providing some factual support, is not sufficient to state a claim. United States
ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 240 (Ist Cir. 2004) (citing Gooley v.

Mobil Oil Corp., 851 F.2d 513, 514 (1st Cir. 1988)). Emphasis added.

B. Plaintiffs Claims are time barred.

To prove that a housing provider failed to reasonably accommodate a disability, a plaintiff
must prove that: (1) she suffers from a disability within the meaning of FHA; (2) the defendants knew
or reasonably should have known of the disability; (3) the requested accommodation may be necessary
to afford “an equal opportunity to use and enjoy the dwelling;” (4) the accommodation is reasonable;
and (5) the defendants refused to make the accommodation. Dubois v. Ass’n of Apt. Owners of 2987
Kalakaua, 453 ¥.3d 1175, 1179 (9th Cir. 2005).

“The FHA does not demand that housing providers immediately grant all requests for
accommodation.” Bhogaita v. Altamonte Heights Condominium Ass’n, Inc., 765 F.3d 1277, 1285-86
(11th Cir. 2014). A housing provider has “an opportunity to make a final decision..., which necessarily
includes the ability to conduct a meaningful review to determine whether the FHA requires the
requested accommodation.” /d. at 1286. The “housing provider may request reliable disability-related
information that (1) is necessary to verify that the person meets the Act’s definition of disability. ...,
(2) describes the needed accommodation, and (3) shows the relationship between the person’s
disability and the need for the requested accommodation.” Overlook Mutual Homes, Inc. v. Spencer,
415 Fed. Appx. 617, 621 (6th Cir. 2011), quoting Joint Statement of HUD and DOJ, “Reasonable
Accommodations Under the Fair Housing Act” (May 14, 2004) (“Joint Statement”)}). When a disability
is not obvious, a landlord is permitted to ask for additional information to confirm that the tenant is
disabled or requires a specific accommodation. See U.S. Department of Housing and Urban

Development, Fair Housing and Equal Opportunity Notice No. FHEO-2020-01, Assessing a Person’s

Page {5
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 6 of 18

Request to Have an Animal as a Reasonable Accommodation Under the Fair Housing Act, 9-10 (Jan.
28, 2020).

Buncher’s claims are focused on and centered around the events leading up to the real estate
closing as involving her Unit in January and part of February, 2022. Buncher is displeased with the
paperwork she was asked to complete as involving her request to bring her ESA into Hamlet, by
Plaintiffs own admission 4 “no-pet community”. As previously stated, Buncher’s first ESA, Hercules,
was approved and lived with Buncher for close to two (2) years until his death. Yet, the gravamen of
Buncher’s lawsuit asks this Court to go back in time more than three (3) years and five (5) months and
evaluate whether that paperwork involving her first ESA was somehow discriminatory in nature. The
problem for Buncher is that her claims are seriously stale and barred by the applicable statute of
limitations.

As involving claims for housing discrimination and attendant time limitations when bringing

a civil action here is the applicable statute:

42 U.S.C. §3613. Enforcement by private persons

(a) Civil action

qd)

(A) An aggrieved person may commence a civil action in an appropriate United States district court
or State court not later than 2 years after the occurrence or the termination of an alleged discriminatory
housing practice, or the breach of a conciliation agreement entered into under this subchapter,
whichever occurs last, to obtain appropriate relief with respect to such discriminatory housing practice
or breach. [Emphasis added]

When interpreting limitations provisions, as always, “we begin by analyzing the statutory
language.” Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 251 (2010). If the words of a
statute are unambiguous, this first step of the interpretive inquiry is our last. Connecticut Nat.
Bank v. Germain, 503 U.S. 249, 254 (1992). If “there are two plausible constructions of a statute of

limitations,” we generally “adopt the construction that starts the time limit running when the cause of

Page |6
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 7 of 18

action .. . accrues” because “Congress legislates against the ‘standard rule that the limitations period
commences when the plaintiff has a complete and present cause of action.’ ” Graham County Soil &
Water Conservation Dist. v. United States ex rel. Wilson, 545 U.S. 409, 418-419 (2005) (quoting Bay
Area Laundry and Dry Cleaning Pension Trust Fund v. Ferbar Corp. of Cal., 522 U.S. 192, 201
(1997)).

Here, the text of 42 U.S.C. §3613 clearly states that a claim for housing discrimination “may
be brought ... not later than 2 years after the occurrence or the termination of an alleged
discriminatory housing practice.” That language unambiguously sets the date of the violation as the
event that starts the two-year limitations period. At the time of the Fair Housing Act’s enactment, the
term “violation” referred to the “[a]ct or instance of violating, or state of being violated.” Webster’s
New International Dictionary 2846 (2d ed. 1949) (Webster’s Second). The term “occur” meant “to
happen,” and, as Webster’s Second explains, “occur” described “that which is thought of as definitely
taking place as an event.” /d., at 1684. Read together, these dictionary definitions confirm what is clear
‘from the face of 42 U.S.C. §3613’s text: The limitations period begins to run on the date the alleged
violation actually happened. We must presume that Congress “says in a statute what it means and
means in a statute what it says there.” Connecticut Nat. Bank, 503 U.S., at 254. The length of a
limitations period “reflects a value judgment concerning the point at which the interests in favor of
protecting valid claims are outweighed by the interests in prohibiting the prosecution of stale

ones.” Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 463-464 (1975).

Again, Buncher’s claims stem from her claim that Hamlet required certain ESA related
paperwork be filled out prior to Buncher’s real estate closing involving the Unit, with those events
taking place in January and February, 2022. Buncher’s lawsuit was filed in May, 2025, more than

three (3) years and a few months after these events. Simply put, Buncher’s claims are time barred.

Page |7
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 8 of 18

C. Claim for Failure to Reasonably Accommodate is Moot

Buncher’s asserts a claim for Failure to Reasonably Accommodate on the factually
incongruous grounds that Hamlet has refused to grant her request for reasonable accommodation
to have a dog as an ESA; this claim must be dismissed based on the mootness doctrine. The FHA
prohibits discriminating against a person on the basis of a "handicap," or a disability, by refusing
to make reasonable accommodations when necessary to afford the person equal opportunity to use
and enjoy a dwelling. Bhogaita v. Altamonte Heights Condo, Ass'n, 765 F.3d 1277 (11th Cir.
2014), :

The FHA defines "handicap" as "(1) a physical and mental impairment which substantially
limits one or more of such person's major life activities, (2) a record of having such impairment, or
(3} being regarded as having such impairment. . ." 42 U.S.C. § 3602(h). Reasonable
accommodation is a change, exception, or adjustment to a rule, policy, practice, or service that
may be necessary for a person with a disability to have an equal opportunity to use and enjoy a
dwelling, including public and common use spaces. See U.S. Dept. of Justice and U.S. Housing
and Urban Development, Joint Statement on Reasonable Accommodations § (hereinafter "Joint
Statement").

To successfully prevail in a failure-to-accommodate claim, plaintiff must prove that (1) they are
disabled within the meaning of the FHA, (2) they requested a reasonable accommodation, (3) the
requested accommodation was necessary to afford them an opportunity to use and enjoy their
dwelling, and (4) the defendants refused to make the accommodation. Bhogaita, 765 F.3d 1277,
citing Schwarz v. City of Treasure Island, 544 F.3d 1201, 1218-19 (11th Cir. 2008).

"The FHA’s reasonable accommodation provision requires only those accommodations
that may be necessary . . . to afford equal opportunity to use and enjoy a dwelling.” Schwarz, 544

F.3d at 1226 (internal quotation omitted). Once a provider knows of an individual's request for

Page |8
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 9 of 18

accommodation, the provider has an opportunity to make a final decision . . . which necessarily
includes the ability to conduct a meaningful review to determine whether the FHA requires the
requested accommodation. Dubois v. Ass'n of Apt. Owners, 453 F.3d 1175 (9th Cir, 2006) (internal
citation omitted). The FHA does not demand that housing providers immediately grant all requests
for accommodation. Schwarz, 544 F.3rd at 1219.

The United States Constitution limits the jurisdiction of federal courts to the consideration
of ‘cases and controversies.’ U.S. Const. art. III § 3. The doctrine of mootness derives from the
case-or-controversy limitation; an action that is moot cannot be characterized as an active case or
controversy. Troiano v. Supervisor of Elections, 382 F.3d 1276 (11th Cir. 2004). A case is moot
when events subsequent to the commencement of a lawsuit create a situation in which the
court can no longer give the plaintiff meaningful relief. See Pacific Ins. Co. v. General Dev. Corp.
28 F.3d 1093, 1096 (11th Cir. 1994). A case may be moot if the defendant can demonstrate that
"there is no reasonable expectation that the wrong will be repeated.” United States v. W. T. Grant
Co., 345 U.S. 629, 633 (1953).

Just for purposes of this motion to dismiss, Defendants do not dispute whether Buncher
meets the definition of one with a disability which substantially limits major life activities, but
instead postulates that Buncher’s request for reasonable accommodation is moot since it has been
met since on or around February, 2022. Further, Defendants seek to elucidate that there is no
reasonable expectation that Buncher will, in the future, be prohibited from maintaining her ESA at
Hamlet.

Here, Defendants did not willfully or intentionally deny Buncher’s request, but sought
information to conduct a meaningful review of Buncher’s request for reasonable accommodation.
Buncher only requested reasonable accommodation to facilitate the maintenance of a dog as an

ESA after she brought her newly acquired third ESA into the community without first notifying

Page |9
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 10 of 18

Defendants nor going through the procedures for approval. Buncher’s attorney flatly refused on
behalf of Buncher to have Buncher fill out the ESA application as involving her third dog Bella.
See Plaintiff's Complaint Exhibit 12. Furthermore, the treating physician of Buncher provided a
letter for Hamlet’s review well after Buncher had already moved Bella into the Unit simply
reiterating Buncher’s need for an ESA but not mentioning nor identifying Bella at all in such letter
dated January 27, 2025. See Plaintiff's Complaint Exhibit 12.

In Buncher’s Physician’s initial letter to Hamlet, an ESA was only recommended, with the
physician noting “it is my recommendation that Beverly Buncher have an emotional support
animal.” Contrary to Buncher’s assertion that reasonable accommodation was not provided, and
despite Buncher and her counsel’s abject refusal to comply with basic procedure by filling out the
forms as involving “Bella”, Buncher has been able to maintain her third dog, Bella, as her ESA.
Defendants have made no requests to remove Buncher’s ESA and Defendants have no future
intentions of requesting that Buncher remove her ESA. Similar to Jews for Jesus v. Hillsborough
Cty. Aviation Auth, where the court found the cause of action moot, this Court should find the
claim for reasonable accommodation moot. 162 F.3d 627 (11th Cir. 1998). In Jews for Jesus the
court found the Tampa International Airport would not likely return to its prior policy and would
instead continue the policy it had consistently applied for three years. Id.

Here, Hamlet has permitted Buncher, without interference, to maintain her ESA for almost
three (3) years prior to the filing of the instant action. Defendants have and will continue allowing
Buncher to maintain the ESA on the property and will seek no further information as to an
exception. Simply the fifth element necessary to establish that Hamlet, as the housing provider,
failed to reasonably accommodate Buncher’s alleged disability does not exist and will never exist.
The fifth element being “the defendant refused to make the accommodation”. By Buncher’s own

admission, “Hercules” lived with Buncher in the Unit from the moment she purchased the Unit

Page |10
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 11 of 18

until Hercule’s death in December, 2024.

When a plaintiff cannot satisfy the fifth element because the ESA lived with the plaintiffs
during their entire stay at the housing provider’s location, and there were no threats of eviction or
removal of the animal, nor was the plaintiff fined or punished due to the ESA living at the property,
a claim pursuant to 42 U.S.C. §3604(f) is immediately dismissible. See, LaRosa, et. al. v. River
Quarry Apartments, LLC, Case 1118-CV-00384-BL W, United States District Court of Idaho; See,
Dubois v. Ass'n af Apt. Owners of 2987 Kalakaua, 453 F.3d 1175, 1179 (9th Cir. 2005).

In Dubois, Dubois and Prindable owned a unit in a residential condominium project and
they began living with an English bulldog. The condominium bylaws forbade animals on the
premises, “except that qualified individuals with disabilities” were allowed to have “assistance
animals.” In an effort to satisfy the bylaws, Dubois and Prindable submitted letters recommending
that one or the other be allowed to keep the animal for “medical reasons.” The condominium
managers requested more information about the alleged conditions, but none of the doctors
responded. Dubois and Prindable took the position that neither they nor their physicians were
obligated to disclose further information, but they eventually submitted letters from a behavioral
medicine specialist and two doctors stating that Prindable suffered from depression and that he
would benefit from animal-assisted therapy and that separation from the dog would exacerbate the
condition. The condominium association granted plaintiffs temporary permission to keep the dog,
pending its review of the submissions concerning Prindable’s condition. Before the condominium
association took any further action to evict the dog, Dubois and Prindable sued. They alleged
discrimination and retaliation in violation of the FHA, among other claims. The district court
granted dismissal of the lawsuit in favor of the condominium association, and the Ninth Circuit

affirmed, explaining that “[s]ince the Condominium Association never refused to make the

requested accommodation, plaintiff's FHA claim necessarily failed.” Jd. at 1179 (footnote omitted,

Page |li
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 12 of 18

citing Bryant Woods Inn, Inc. v. Howard County, 124 F.3d 597, 602 (4th Cir. 1997) (“[A] violation
[of the FHA] occurs when the disabled resident is first denied a reasonable accommodation... y).

The Sixth Circuit addressed similar situation Overlook Mutual Homes, Inc. v. Spencer, 415
Fed. App’x 617, 620-21 (6th Cir. 2011) (unpublished decision). There, the court affirmed the district
court’s granting of a motion for judgment as a matter of law in favor of a housing corporation. The
housing corporation did not formally grant the plaintiffs a temporary exemption to a “no pets” policy
but nonetheless allowed plaintiffs to stay in the home with the animal while considering the
accommodation. See id. (“True, Overlook never granted the Spencers a temporary exemption from the
“no pets” policy, but the more important fact is that Scooby was allowed to stay with the family, and
they were never required to leave their home or otherwise punished for Scooby’s presence.”). As in
Overlook, this court concludes that although the LaRosas were not accorded a formal, temporary
accommodation, they nonetheless enjoyed precisely that. Under Dubois, then, plaintiff’s allegation
that River Quarry refused an accommodation fails as a matter of law.

Accordingly, Plaintiff cannot maintain a cause of action for failure to accommodate. This
action is moot because Defendants accommodated her request three (3) plus years ago as involving
Buncher’s first dog Hercules and second dog “Maxie” (both of whom died in December, 2024)
and has continued to permit her latest ESA “Bella” to reside in the Unit since December, 2024. As

such, Count I of the Complaint should be dismissed.

D. Claim for [egal Intimidation Cannot be Established °
Much like Buncher’s “accommodation claim,” her claim for damages arising from
purported illegal intimidation is meritless. In the context of a § 3617 claim, adverse action must
be in the form of "coercion, "intimidation, threats, or interference." See 42 U.S.C. § 3617. Under

Fla. Stat. § 760.37, “it is unlawful to coerce, intimidate, threaten, or interfere with any person in

Page |12
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 13 of 18

the exercise of, or on account of her or his having exercised, or on account of her or his having
aided or encouraged any other person in the exercise of any right granted under §§ 760.20-760.37.
There is no requirement for a showing of force or violence for coercion, interference, intimidation,
or threats to give rise to liability. Walker v. City of Lakewood, 272 F.3d 1114, 1128 (9th Cir, 2001).
The scope of 42 U.S.C.S. § 3617 is not limited to those who used some sort of potent force or
duress, but extends to other actors who are in a position to directly disrupt the exercise or
enjoyment of a protected right and exercise their powers with a discriminatory animus. Mich. Prot.

& Advocacy Serv. v, Babin, 18 F.3d 337 (6th Cir. 1994).

Here, the allegations as set forth in the four (4) corners of the Complaint do not support a
claim for illegal intimidation and at most shows a request to fill out applications, which Plaintiff
admittedly complied with in the first instance back in 2022 {three plus years ago), but never did
for her third ESA Bella. In fact, the Complaint underscores this very point.? Hamlet did not
‘intimidate’ Buncher but rather, in its correspondence merely cited to Florida law, specifically
stating, “Florida Statute 413.08(9) states that it is a crime for a person to misrepresent that they
have a ‘service animal when they do not have a 'service animal'’, which is a true statement.
See Compl. § 76. Buncher incorrectly alleges the foregoing statement was intended to intimidate,
humiliate and discourage. See Compl. § 77. Buncher further claims informing her of the likelihood
of fines and/or litigation was an intimidatory tactic. See Compl. { 78.

To foreclose on Defendants’ ability to generally cite to a statute when informing residents
of the likely repercussions of their actions, if illegal in nature, would be an affront to good sense

and would likely result in other legal action. Additionally, citing to existing law is standard in

3 "Where there is a conflict between allegations in a pleading and exhibits thereto, it is well settled that the exhibits
control.” Griffin Indus. v. Irvin, 496 F.3d 1189 (11th Cir. 2007), citing Simmons v. Peavy-Welsh Lumber Co., 113 F.2d
812 (5th Cir. 1940)

Page |13
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 14 of 18

many legal writings and affords the reader much needed knowledge of the likely legal effects of
their behavior.

Accordingly, Buncher’s cannot establish claims of illegal intimidation, and this claim must
be dismissed forthwith.

Count IT —- PUBLISHING A STATEMENT INDICATING A PREFERENCE THAT
PERSONS WITH DISABILITIES NOT RESIDE AT HAMLET......

Plaintiffs Claim as involving “PUBLISHING A STATEMENT INDICATING A
PREFERENCE THAT PERSONS WITH DISABILITIES NOT RESIDE AT HAMLET...... ” is
defied by Plaintiff's very own exhibits and is immediately dismissible. Where there is a conflict
between allegations in a pleading and exhibits thereto, it is well settled that the exhibits control."
Griffin Indus. v. Irvin, 496 F.3d 1189 (11th Cir. 2007), citing Simmons v. Peavy-Welsh Lumber Co.,
113 F.2d 812 (Sth Cir. 1940). The entirety of Plaintiff's claim rests on the ridiculous premise that the
following statement suggests Hamlet subscribes to the position that persons with disability who need
assistance animals are not desirable. Here is the statement that Plaintiff claims undergirds this baseless
assertion:

“|Hamlet] advises that this Association has strict rule regarding animals and
pets within the community, and the Association is required by law to
enforce these rules.”

Saying that Hamlet has rules regarding animals is a true non-discriminatory statement. By
Plaintiff's own admission Hamlet is a “no pet community”. See Compl. 4 17. Referencing the
existence of /aw surrounding assistance animals is also a true non-discriminatory statement. And
lastly, Hamlet referencing that it will enforce the strictures surrounding assistance animals is
actually a mandatory obligation of Hamlet, not a discriminatory statement.

As much as Buncher may want this Court to entertain the plain language in this single

statement to which Buncher relies on cannot be twisted, interpreted, nor viewed as discriminatory

Page |14
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 15 of 18

in any way shape or manner.
Count IV - Making a Dwelling Unavailable Based Upon Disability.‘

Buncher has asserted a claim of making a dwelling unavailable based on a disability,
contending Hamlet created a rule that emotional support animals’ paws are not to touch Hamlet’s
community property. See Compl. 90. First, as to Buncher’s first ESA, “Hercules”, this claim is
from three (3) plus years ago and is time barred. Secondly, by Buncher’s own admission the rule
has since been rescinded and has not been applied to Buncher’s third dog “Bella” See Compl. 4
52, footnote 2. As shown above this claim cannot be established, as Buncher has had a dog in her
residence without interference or intimidation from Hamlet for over two (2) plus years by
Plaintiff's own admission in her Complaint.

This Court should find that Buncher’s ciaim of making a dwelling unavailable is not
tethered to the facts and should be dismissed.

Untitled Count — “Injunctive Relief.”

Buncher has asserted a yet unclear and untitled claim, which could be, interpreted as a
claim for Injunctive Relief. Since this claim is untitled and subject to interpretation, Defendants
will respond as if Plaintiff seeks injunctive relief.

To satisfy the standard for granting a preliminary injunction, a plaintiff must establish:

(1) a substantial likelihood of prevailing on the merits; (2) that they will suffer irreparable injury

unless the injunction issues; (3) that the threatened injury outweighs whatever damage the
proposed injunction may cause the opposing party; and (4) that the injunction would not be adverse

to the public interest. Rogers v. Windmill Pointe Vill. Club Ass'n, 967 F.2d 525 (11th Cir. 1992). A

4 This Count is duplicative of Buncher’s claim for reasonable accommodation. Reading the FHA, 42 U.S.C.S. §
3604(f}(1) and 42 U.S.C.S. § 3604(f)(3)(B) together, make clear that refusing to make reasonable accommodations is
one specific type of conduct that violates the FHA's general prohibition against denying housing based on disability.
Falin v. Condo. Ass'n of La Mer Estates, No. 11-61903-CIV, 2012 U.S. Dist. LEXIS 73453 (S.D. Fla. May 28, 2012)

Page |{15
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 16 of 18

plaintiff must clearly carry the burden of persuasion on all four elements to prevail on the motion
for preliminary injunction. /d. citing Sofarelli, 931 F.2d 724.

a. Reasonable accommodation requires case-by-case determination, not blanket
injunctive relief.

Buncher requests the court, (1) restrain Hamlet from denying accommodations because
they do not think a resident or potential resident has a disability, (2) restrain Hamlet from
intimidating persons with disabilities and (3) seeking extraneous information regarding a disabled
person’s need for accommodation. See Compl. VII Prayer for Relief, p. 20-21.

Initially, Buncher cannot seek injunctive relief as to reasonable accommodations because,
as noted above, "[w]hether a requested accommodation is required by law, is a ‘highly fact-
specific,’ requiring case-by-case determination." Loren, 309 F.3d 1296. Under the FHA, the
plaintiffs have the burden of proving that a proposed accommodation is reasonable. /d. citing
Groner, 250 F.3d at 1045; Bryant Woods Inn, Inc. v. Howard County, Md., 124 F.3d 597, 603-04
(4th Cir. 1997); Elderhaven, Inc. v. City of Lubbock, Tex., 98 F.3d 175, 178 (Sth Cir. 1996).
Additionally as noted in Bhogaita, one element in a failure-to-accommodate claim is that the
plaintiff made a reasonable accommodation request. 765 F.3d 1285 (emphasis added). In this
regard, each individual who needs reasonable accommodation must make that request; broad

injunctive relief is not applicable.

b. Injunctive relief not available for past wrongs.

Further, injunctive relief is a prospective remedy. McKinnon v. Talladega County, 745 F.2d
1360 (11th Cir. 1984). Injunctive relief is a prospective remedy and does not compensate the
claimant for alleged past wrongs. Jd. at 1362. As in McKinnon, Buncher’s apparent claim for
injunctive relief is not applicable for past wrongs. Id.

As of this writing, Buncher maintains and has maintained a dog as an ESA at Hamlet for

Page | 16
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 17 of 18

over three (3) plus years. Injunctive relief is no way needed as a remedy.

Additionally, Buncher cannot show she will suffer irreparable injury unless an injunction
is issued as she already maintains a dog as an ESA. To bring a claim for injunctive relief where
there is no opposition to an act defeats the purpose of seeking injunctive relief. Since Buncher is
unable to establish all, or frankly, any of the elements of a claim for injunctive relief, such a relief
cannot be granted and should be dismissed.

WHEREFORE, Defendants, respectfully requests that this Honorable Court enter an Order
granting Defendants’ Motion to Dismiss Plaintiff's Complaint in its entirety in favor of both the
Defendants with prejudice and award attorneys’ fees and costs, and any other relief this Court

deems just and proper.

CERTIFICATE OF ADMISSION

I HEREBY CERTIFY that J am admitted to the Bar of the United States District Court for
the Southern District of Florida and J am in compliance with the additional qualification to practice

in this court set forth in Loca Rule 4(a).

Respectfully submitted,

x
eS

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Management Consultants, Inc.

Page |17
Case 9:25-cv-80662-AMC Document 14 Entered on FLSD Docket 06/25/2025 Page 18 of 18

CERTIFICATE OF SERVICE

{ HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished on
this 25" day of June 2025, via CM/ECF portal, Email, Facsimile or U.S. mail to: VENZA LAW, PLLC
AND MARCY I. LAHART, PLLC., Counsel for Plaintiff Beverly Buncher, 12161 Mercado Drive,
#227, Venice Beach, Florida 33409 and 861 S. 40" Street, Tacoma, Washington, 98418,

dvenza@venzalawplic.com and marcy@doglaw.com.

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Page |18
